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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

                                        TAMPA DIVISION

                            CASE NO.: 8:22-cv-00511-CEH-TGW


 SAMANTHA M. MARKLE,

               Plaintiff,
 v.

 MEGHAN MARKLE,

            Defendant.
 _________________________/


                  FIRST AMENDED COMPLAINT FOR DAMAGES

         The Plaintiff, SAMANTHA M. MARKLE, by and through her undersigned

 counsel, hereby serves her First Amended Complaint for Damages against the Defendant,

 MEGHAN MARKLE, and alleges as follows:

                                      Jurisdiction and Venue

         1.    This Court has jurisdiction pursuant to 28 U.S.C. 1332, as there is diversity

 and the damages sought are in excess of $75,000 exclusive of interest, costs, and attorney's

 fees.

         2.    Venue is proper in that the cause of action occurred in the Middle District of

 Florida.

                                              The Parties

         3.    The Plaintiff (hereinafter referred to as “Mrs. Markle”) is a private citizen


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 who is sui juris and is a citizen of Florida.

        4.        The Duchess is a private American citizen who is sui juris and is a citizen of

 California. She is subject to personal jurisdiction in the State of Florida pursuant to Fla.

 Stat. § 48.193(1)(a)(2), as she has committed intentional tortious acts within the State of

 Florida.

                                            Prefatory Facts

        5.        The Duchess is an American actress who has achieved success and fame in

 her own right. However, as fate had it, she met and ultimately married Prince Harry,

 grandson of Queen Elizabeth of the British Empire.

        6.        For reasons of her own, the Duchess distanced herself and denied familiarity

 or closeness to her family, including Mrs. Markle, who is the Duchess’ half-sister on their

 father’s side.

        7.        During their childhood, the Duchess was very close to her older sister despite

 their 17-year age difference. Mrs. Markle was more than a model to follow, but she was

 also the one who regularly drove the Duchess to school and helped her with homework,

 went on shopping trips to the local mall, and overall had a wonderful relationship with her

 younger sister.

        8.        During the years which followed, including the time in which the Duchess

 was succeeding in her career as an actress, the two sisters continued to have a good and

 close relationship.

        9.        Unfortunately, it was after the Duchess met and became engaged to Price

 Harry that their relationship became estranged and hostile.


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                                      Factual Background

        10.    The first sign of their relationship becoming unraveled was in 2018, when

 the Duchess married Prince Harry. Although there had not been any communications

 between the two sisters since late 2015, the situation between the two sisters was not

 perceived to be different or estranged, as Mrs. Markle knew and understood how busy the

 Duchess had become with her TV series and her need to travel around the world.

        11.    In 2018, while the Duchess was dating Price Harry, Mrs. Markle phoned her

 sister who was in Canada with her mother. When they connected and Mrs. Markle started

 to speak, the Duchess hung up the phone on her. Mrs. Markle then called back and left a

 message which was never returned.

        12.    Ultimately, later in 2018, the Duchess became engaged to Price Harry and a

 wedding date was set, but no one from the Duchess’ family (both sides) was invited.

        13.    There was an exception to the Duchess’ distancing of the family, in that the

 sisters’ father was verbally invited, and then disinvited, due to his health issues. Mr.

 Markle had suffered 2 heart attacks prior to the royal wedding.

        14.    Meanwhile, the media had contacted Mrs. Markle who made positive

 statements. However, she did mention in an interview that the Duchess had not contacted

 her father, and she should, as he suffered 2 heart attacks. At that point, the press wrote

 stories that Mrs. Markle “bashed” the Duchess. Following that, the media with no basis

 began publishing stories with fake quotes allegedly made by Mrs. Markle.

        15.    At that time, the Duchess apparently responded to the fake quotes, against

 her sister, without any effort to contact Mrs. Markle.


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           16.     In December of 2018, due to the press, Mrs. Markle was interviewed, and the

 press was not favorable to Mrs. Markle.

           17.     Meanwhile, the Duchess knew at all relevant times, that her older sister, Mrs.

 Markle suffered from Multiple Sclerosis, a debilitating disease, which is exacerbated by

 stress.

 Finding Freedom – The Book

           18.     Ultimately, on August 11, 2020, a book “Finding Freedom” was published

 which was supposedly an “unauthorized” biography of the Duchess. However, the false

 information contained in the book came from the Duchess herself, through her agent and

 communications secretary.

           19.     The book was used by the Duchess to affirm the false narrative that she

 portrayed to the Royal Family, that she supposedly lived a rags to riches storybook life. A

 life that took her from a humble beginning like that of Cinderella, to the wife of a Prince,

 a Duchess. She did not hesitate to strike back at what she mistakenly believed to be actions

 of Mrs. Markle, her older sister, against her.

           20.     She needed to distance herself from Mrs. Markle and to blame any and all

 issues on her.       In the book Finding Freedom, in which the Duchess provided the

 information through her communications secretary, there is an entire chapter 12, starting

 on Page 310 entitled “A Problem Like Samantha” which defamed Mrs. Markle and falsely

 describes her “ploys” to gain notoriety and money from her relation to the Duchess. It

 stated as fact:

                          The trouble began with Samantha Markle. Meghan’s


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                romance with Harry had hardly been public a full 24 hours
                when her half-sister sensed an opportunity. Never mind that
                she hadn’t seen her estranged half sister in more than a decade.
                       Samantha – who had changed her name from Yvonne
                and died her hair a fresh shade of blond. . .

        The false and defamatory statements which follow not only caused harm to Mrs.

        Markle financially in her professional occupation as a mental health counselor, but

        also subjected her to incomprehensible amounts of public scrutiny causing her

        mental health and well-being to deteriorate.

        21.     On Page 310, the book states that the Duchess and Mrs. Markle’s paths had

 crossed only twice since they grew up.

        22.     This was false as the Duchess and Mrs. Markle at one point lived together

 and have been in frequent contact. This allegation is aimed to discredit the relationship

 between the Duchess and Mrs. Markle, and to make Mrs. Markle appear to be an

 opportunist.

        23.     On Page 311 the book falsely states: “Partly due to their seventeen-year age

 difference, Meghan had crossed paths with her half-sister only twice since growing up.”

        24.     On Page 311, the book states that there is only one picture of Mrs. Markle

 and the Duchess. It was written in Finding Freedom: “If there were more, Samantha would

 have sold them.” This is also false, as there were and are many photographs of the sisters

 together.

        25.     The implication of this defamatory statement is to accuse Mrs. Markle of

 being an opportunist who would do anything to make a dollar, even if it meant disposing

 of sentimental photographs revealing private moments between the Duchess and Mrs.

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 Markle.

         26.   The book, on Page 312 went further, and states that Mrs. Markle reached out

 to the Sun with her story about how snagging a royal had been the Duchess’ lifelong

 ambition. Worse, it said that Mrs. Markle was “handsomely” paid.

         27.   This statement is false. Mrs. Markle has never contacted The Sun regarding

 the Duchess, and she was never paid anything from the Sun, least “handsomely.”

         28.   On Page 313, the book states: “Meg didn’t grow up with Samantha. She

 barely saw her.”

         29.   On Page 314, the book states: “the half-sisters have never been close.”

         30.   On Page 317, the book falsely states that Mrs. Markle was not invited to the

 Duchess’ first wedding. This was another false statement designed to bolster the false

 position that the two sisters had no real relationship.

         31.   The Duchess even states that she asked her father to intervene with Mrs.

 Markle, and that he had told Mrs. Markle that she is hurting the Duchess. None of this was

 true.

 Oprah Prime Time Show

         32.   After the release of Finding Freedom, which was published on August 11 of

 2020, subsequently on March 7, 2021, the Duchess and Prince Harry appeared on an Oprah

 Winfrey CBS prime time special which was viewed by approximately 50 million people,

 worldwide.

         33.    During the course of the show which aired on March 7, 2021, and was


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 subsequently replayed on numerous televisions and online media platforms, the Duchess

 stated that she was “an only child,” who only met Mrs. Markle “a handful of times,” and

 that Mrs. Markle only changed her surname to “Markle” after the Duchess started dating

 Prince Harry so that Mrs. Markle could cash in on her newfound fame.

        34.    None of these statements were true.

 Harm to be Caused

        35.    These prevarications were greatly injurious to Mrs. Markle because it caused

 a negative public reaction. Mrs. Markle lives in a small Florida city, Lakeland, where she

 is well known. Moreover, she is known because she is the sister of the Duchess who enjoys

 great fame, wealth, and prestige. The Duchess is a public figure, with a huge fan base.

 When the Duchess gave information to be published in what turned out to be a ‘best seller,’

 and appeared on the CBS Oprah Winfrey special viewed by 50 million people, she instilled

 anger in her fan base against Mrs. Markle, which includes a significant part of the

 population of Lakeland.

        36.    Suddenly, emotionally connected fans turned against this supposed imposter

 who was distant from her younger sister. Mrs. Markle was seen as a greedy opportunist

 who people believed had no relationship with her sister, and who was attempting to cash-

 in on her sister’s success and fame.

        37.    All of the false remarks in the book Finding Freedom and in the CBS Oprah

 Winfrey interview were false, were said directly by the Duchess, with full knowledge that

 the statements she was saying were false. All the statements by the Duchess were written


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 or said with malice in that she knew that they were false, and she also knew that they would

 cause harm to her older sister, Mrs. Markle.

         38.   Moreover, in this case the defamatory statements were publicized on a

 worldwide scale by a public figure, the Duchess of Sussex. By virtue of Mrs. Markle’s

 relation to her half-sister, the public took an interest in Mrs. Markle.

         39.   The false and malicious statements described above, caused substantial,

 irreparable prejudice, injury, and harm to Mrs. Markle’s reputation to a substantial, sizable,

 and appreciable fraction of the relevant community, and caused her great anxiety and

 emotional distress.

         40.   As a direct result of the Duchess’ false and defamatory statements Mrs.

 Markle receives hateful emails and messages on a regular basis, is subjected to ongoing

 negative media portrayals, news articles, nasty negative press, and her reputation has been

 so damaged that she has been unable to work as a mental health counselor.

         41.   For example, Mrs. Markle was forced to seek and obtain an “Injunction for

 Protection Against Stalking” in Polk County, Florida against one of Defendant’s zealous

 fans.

         42.   All predicate acts which were required to have been done have been done or

 the requirement has been waived.

                                     Count I - - Defamation

         43.   The Plaintiff avers the allegations in Paragraphs 1 through 42, above, and

 incorporates them by reference as though they are fully rewritten in this Count.

         44.   Utilizing her power as the Duchess of Sussex, the Duchess made, published,

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 and disseminated false statements about her own half-sister Mrs. Markle, with the intent

 that they be spread across the globe.

        45.    The Duchess has made written false, derogatory, and defamatory allegations

 in the form of the best-selling book Finding Freedom. In which, she claimed among other

 things, that Mrs. Markle was cashing in on her fame, that the sisters had “only crossed

 paths once,” and have never been close.

        46.    Moreover, the Duchess appeared on the CBS Oprah Winfrey interview where

 she further defamed Mrs. Markle and stated she was “an only child,” who only met Mrs.

 Markle “a handful of times,” and that Mrs. Markle only changed her surname to “Markle”

 after the Duchess married Prince Harry.

        47.    All of these statements contained within the book and the CBS Oprah

 Winfrey interview were false and the Duchess knew the statements were false at the time

 they were made.

        48.    Mrs. Markle was subjected to an incomprehensible amount of public

 scrutiny. On a regular basis, Mrs. Markle received hate messages, nasty negative press, and

 suffers emotionally from the worldwide hatred, contempt, and ridicule that she is forced to

 endure.

        49.    As described above, the statements made by the Duchess were false, and at

 the time the statements were made the Duchess had actual knowledge that these statements

 were false.

        50.    At all times relevant, the statements and allegations were made by the

 Duchess with the sole intent to damage Mrs. Markle’s reputation and credibility with the


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 public so that she was virtually unbelieved. The Duchess did so in order to push her

 concocted “rags to riches” life story, without contradiction or negation from Mrs. Markle

 or other family members.

        51.     Disregarding the truth and veracity of her statements, the Duchess has

 repeatedly and continuously published false and defamatory statements regarding Mrs.

 Markle. To this day, the Duchess continues to contact the media to further spread these

 blatant lies across the globe.

        52.     The false and defamatory statements have prejudiced, harmed, and injured

 Mrs. Markle’s reputation as she is exposed hatred, ridicule, and contempt by the public.

        53.     Moreover, because of the malicious statements, Mrs. Markle has also

 suffered injury to her occupation as a mental health counselor, and the sales for her

 autobiography have drastically decreased.

        54.     The statements made by the Duchess are the direct and proximate cause of

 Mrs. Markle’s harm and taken together have caused Mrs. Markle to suffer actual losses in

 the form of harm to her occupation, as well as emotional and mental distress, including

 anxiety and fear due to the threatening and violent emails and messages she receives on a

 regular basis from the public, and the permanent harm caused to her reputation and

 credibility.

        WHEREFORE, the Plaintiff, Samantha Markle, demands judgment for

 compensatory damages and punitive damages against the Defendant, Meghan Markle,

 together with interest, attorneys’ fees, and costs, and for any other and further relief which

 this Court may deem just and proper.


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                               Count II - - Injurious Falsehood

           55.   The Plaintiff avers the allegations in Paragraphs 1 through 42, above, and

 incorporates them by reference as though they are fully rewritten in this Count.

           56.   As detailed above, the Duchess published false and defamatory statements in

 the book Finding Freedom, such as the statement contained on Page 313 which states:

 “Meg didn’t grow up with Samantha. She barely saw her.”

           57.   Additionally, on Page 314, the book states: “the half-sisters have never been

 close.”

           58.   As detailed in length herein, on numerous occasions the Duchess has

 published false, defamatory, and derogatory statements, about Mrs. Markle.

           59.   These statements include information provided by the Duchess for the book

 Finding Freedom such as that Mrs. Markle was cashing in on her fame, that the sisters had

 “only crossed paths once,” and that the two have never been close. These statements were

 all false.

           60.   Moreover, the Duchess appeared on the CBS Oprah Winfrey interview where

 she further defamed Mrs. Markle and stated she was “an only child,” who only met Mrs.

 Markle “a handful of times,” and that Mrs. Markle only changed her surname to “Markle”

 after the Duchess married Prince Harry.

           61.   The Duchess continues to spread her false and defamatory statements about

 Mrs. Markle to the media from the period of August 2020 to the present day.

           62.   The Duchess’ depiction of Mrs. Markle to the public has forever cast her in

 an unfavorable light, and has caused irreparable harm to her reputation, credibility, and


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 ultimately her career.

         63.   As a mental health counselor, Mrs. Markle has lost business from these false

 and defamatory statements as the public believes she is a liar, opportunist, evil, and

 ultimately unstable.

         64.   Given that the Duchess in August of 2020 claimed in the book she and Mrs.

 Markle are virtually strangers, Mrs. Markle’s autobiography sales tanked. Reviewers

 began writing hateful messages on the reviews for the book and even made allegations that

 Mrs. Markle was “evil” and “capitalizing on her the Duchess’ fame.”

         65.   At all relevant times, the Duchess acted with actual malice in spreading the

 false information to the book publishers, as she knew that her false and defamatory

 statements, allegations, and overall depiction of Mrs. Markle would result in pecuniary

 harm.

         66.   Despite knowing full well her statements were false, the Duchess spread this

 false information to third parties such as news outlets, television programs, and the general

 public, with the intent that they be disseminated around the globe.

         67.   The Duchess made these statements in order to impair the credibility of Mrs.

 Markle, so that she may push her constructed “rags to riches” story and in turn, negate or

 prevent contradiction from Mrs. Markle, her brother Thomas Markle, Jr., and father,

 Thomas Markle.

         68.   As the media trusted the Duchess of Sussex as a public figure, the media

 reported her allegations as true.

         69.   For example, after the CBS Oprah Winfrey Interview Mrs. Markle’s


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 autobiography was labeled as “a book of lies.”

           70.    The public was misled that Mrs. Markle was nothing more than a lying,

 dishonest opportunist who was out to capitalize on her half-sister’s newfound fame and

 status.

           71.    The Duchess’ acts have caused, and continue to cause, irreparable injury to

 Mrs. Markle’s trade, business, reputation, prestige, and goodwill.

           72.    As a direct and proximate result of the Duchess’ unlawful conduct, Mrs.

 Markle has suffered irreparable injury to her trade, business, reputation, prestige, and

 goodwill.

           WHEREFORE, the Plaintiff, Samantha Markle, respectfully requests that this Court

 enter a Judgment for Mrs. Markle, and against Defendant, Meghan Markle, for damages,

 including compensatory damages, punitive damages, attorneys’ fees, and costs, and such

 further and other relief which this Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

           The Plaintiff demands a trial by jury on all issues so triable.

 Respectfully submitted on June 3, 2022.




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           DESIGNATION OF EMAIL ADDRESSES FOR SERVICE
                 (Pursuant to Rule 2.516 Fla. R. Jud. Admin.)
 The undersigned attorneys of The Ticktin Law Group hereby designate the following Email
 Addresses for service in the above styled matter. Service shall be complete upon emailing
 to the following email addresses in this Designation, provided that the provisions of Rule
 2.516 are followed.
           Serv549@LegalBrains.com; Serv513@LegalBrains.com;
                      Serv512@LegalBrains.com
     SERVICE IS TO BE MADE TO EACH AND EVERY EMAIL ADDRESS
          LISTED IN THIS DESIGNATION AND TO NO OTHERS.

 Dated: June 3, 2022



                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been

 furnished to all parties registered to receive service via CM/ECF this 3rd day of June 2022.


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 _/s/ Jamie A. Sasson________________
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